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No. 04-09-00464-CV



IN RE Ruben VASQUEZ



Original Habeas Corpus Proceeding (1)



PER CURIAM


Sitting:	Catherine Stone, Chief Justice

		Karen Angelini, Justice

		Rebecca Simmons, Justice

		

Delivered and Filed:	August 26, 2009


PETITION FOR WRIT OF HABEAS CORPUS DENIED

	On July 30, 2009, Ruben Vasquez filed an original petition for a writ of habeas corpus in this
court, seeking to compel the trial court to "release" him.  Relator was arrested and jailed pursuant
to a writ of commitment issued when he failed to appear in court to respond to a child support
enforcement action.  Relator represents he has been "confined continuously for a period of 90 days
. . .[and] has been illegally incarcerated since."  However, the record indicates that relator was
released on July 13, 2009 and is not currently incarcerated.  


	The purpose of a habeas corpus proceeding is not to determine the ultimate guilt or innocence
of the relator, but to ascertain if the relator has been unlawfully confined.  Ex parte Gordon, 584
S.W.2d 686, 688 (Tex. 1979); In re Alexander, 243 S.W.3d 822, 827 (Tex. App.--San Antonio
2007, orig. proceeding).  Because relator sought in his petition to be released from confinement and
he is no longer being confined, relator has not brought forth proper grounds for relief.  Accordingly,
relator's petition for writ of habeas corpus is DENIED.  Tex. R. App. P. 52.8(a).  	

								PER CURIAM

1.   This proceeding arises out of Cause No. 2004-EM5-05017, styled In the Interest of A.V., pending in the
73rd Judicial District Court, Bexar County, Texas, the Honorable Andy Mireles presiding.  However, the order
complained of was signed by the Honorable Jim Rausch, Associate Judge of the Child Support Court.  

